United States District Court

For the Northern District of California

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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

FINJAN, INC., No. C 17-05659 WHA
Plaintiff,
Vv. SPECIAL VERDICT FORM
JUNIPER NETWORKS, INC.,

Defendant.

When answering the following questions and filling out this special verdict form, please
follow the directions provided throughout this special verdict form and the final charge to the

jury. Your answer to each question must be unanimous.

We, the jury, unanimously agree to the answers to the following questions as our

verdict.

 
United States District Court

For the Northern District of California

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INFRINGEMENT?

l. Has Finjan proven by a preponderance of the evidence that Juniper’s accused
products meet the “database” limitation as that term is used in Claim 10 of the United States

Patent No. 8,677,494?

YES No ; E

If you answer “Yes,” you will have found that Juniper’s accused products infringe
Claim 10, and you should go to Question No. 2. If “No,” then you will have found that
Juniper's accused products do not infringe and you are done — go to the end, sign, and date

the form.

NOTICE?

2: Has Finjan proven by a preponderance of the evidence that Finjan and its °494
licensees marked substantially all of their products covered by the *494 patent and/or Finjan
gave actual notice to Juniper that Juniper was infringing the °494 patent through the accused

products?
YES No

If you answer “Yes,” then please answer the next question. If “No,” then Finjan is not

entitled to damages and you are done — please skip to the end, sign, and date the form.

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4. If you answered “Yes” to Question No. 2, please state the earliest date proven by

Finjan by which such marking or actual notice occurred.

DATE: tot AS ZED

If you answer “Yes” to both Question Nos. 1 and 2 and supply a date for Question No.

3, then the issue of damages shall be for the judge. You need not concern yourself with that

issue,

 
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You have now reached the end of the verdict form and should review it to ensure it
accurately reflects your unanimous determinations. Your presiding juror should then sign and
date the verdict form in the spaces below and notify the judge (through the court security
officer) that you have reached a verdict. The presiding juror should place the verdict form in the

envelope provided and bring it when the jury returns to the courtroom to deliver the verdict.

Dated: December /Y , 2018.

Sa

PRESIDING JUROR

Brian Lokd

 
